US FEDERAL DISTRICT COURT OF MIDDLE TENNESSEE, NASHVILLE.

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PLAiNTIFF. ) ..`;
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Paul E. Amadi. ) ____ m
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V. Case No. §§ gm
DEFENI)ANT ) __ :;;

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Danielle W. Barnes ) COmplaiIlt.
TN Commissioner of Human Services. )
JURISDICTION.

This court has both personal & subject matter jurisdiction over civil right violations

of Plaintiff pursuant to 42 US Code 1883.

VENUE.

Plaintiff and Defendant reside and conduct business within the state of Tennessee and
are domiciled within the Middle Tennessee court district. Furthermore, alleged violations
occurred within this Court’s jurisdiction.

STATEMENT OF FACTS.

Prior to 2011, Defendant had severally suspended the driving privileges of the Plaintiff for
non-payment of Child Support, through the State Dept of Safety and reinstated it after
Plaintiff paid large sums to Defendant. By 2011, Plaintiff’s son turned 18 years old and
Plaintiff approached the Davidson County Family Court to terminate the Support as
proscribed by Tennessee law and the law of the State of North Carolina, where the
Plaintiff’s son resided. Defendant attorney deliberately argued falsely and fabricated that
because the Plaintiff’s son was born in New York State, that New York State had original
jurisdiction and as such New York State Statue that extends Child Support until the age of

21 applied. As a result, the Family Court ruled in favor of Defendant, and insisted the

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Plaintiff should continue to pay until his son turned 21 years of age. Plaintiff studied the
subject, and consulted local attorneys who denounced the Defendant’s argument

as false. Thereafter, Plaintiff wrote to the New York State Child Support agency and the
New York court. Both discredited the claim made by Defendant.

Even the North Carolina Child Support Agency insisted Defendant Was not being truthful
and had original jurisdiction and so Tennessee laws applied to the case after realizing
Plaintiff had made serious inquiries . The whole purpose was for the Defendant to collect
more money for another three years from Plaintiff and keep some of it as was the practice.
After a whole year of harrassments and distress, Plaintiff forwarded all the papers Plaintiff
received from both North Carolina and New York State to the Tennessee governor’s office
and the Defendant quickly dropped their claim. This was not without threats as one
Saturday morning, a staff of the Child Support office called Plaintiff and rained more
abuses and threats , saying Plaintiff would suffer for digging out the truth from New York
state. She boldly identified her name as Miss Jackie Brown.

Thereafter, Plaintiff started receiving letters from both North Carolina and Defendant
about the arrearage Plaintiff owed on Child Spport . Out of about 8 letters Plaintiff
received none of the figures matched . Obviously, they were misrepresenting figures to
inflate the reararage. Sometime in 2012, Defendant remitted information to the State Dept
Of Safety, to suspend Plaintiff’s driving privileges and demanded a lump some amount of
3500 dollars to lift the suspension. Plaintiff took the sum of $400 to Defendant and
Defendant employee assured Plaintiff she had remitted information to the Dept of Safety
for reinstatement of driving privilege.

Meanwhile, Plaintiff and Plaintiff ex-wife were facing a serious mental health issue with
their son. He had been hospitalized several times. Plaintiff asked that his son be sent to him

to see if the problem was environmental. In January of 2013, Plaintiff’s son arrived from

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North Carolina and Plaintiff informed Defendant that the child in question was now in
Tennessee. During a conversation, Plaintiff disclosed to his eX-wife how Plaintiff had paid
$400, and how much Plaintiff had been paying yearly over the years to Defendant and
asked if ex-wife received them accordingly. Ex-wife said she often received about 60% of
payments and out of the $400 paid to Defendant, eX-wife received only $140 dollars.
Plaintiff’s ex-wife was infuriated. In fact, agents of the Child Support office in

North Carolina informed Plaintiff about Plaintiff’s wife fury and demand on them to stop
any kind of collection. She was advised to swear an affidavit to end it entirely. She swore
an Affidavit and forwarded one to Plaintiff, copied both her state, North Carolina and
Defendant in Tennessee. Plaintiff also sent his copy to Defendant. Defendant acknowledged
receipt of Affidavit and promised Plaintiff every collection had been stopped . Strangely,
Defendant again in June of 2013, a month after all these, suspended Plaintiff’s driving
privilege again.

Plaintiff was unaware of this suspension and was busy attending to his son’s mental health
from one hospital to the other. Also Plaintiff learned that the State of North Carolina had
sent an official letter to Defendant to close the Whole collection matter in November of
2013. Plaintiff later learned from his intereactions with the Dept of Safety that the
Defendant did not send any kind of information to Safety to clear Plaintiff. On the 10th of
March, 2014, Plaintiff was pulled over by a Lavergne city police officer and cited for
driving on suspended license. This was 10 months from the time Defendant should have
cleared Plaintiff of all restrictions. Plaintiff contacted Defendant’s office and was told by
the staff that it had released every hold on Plaintiff’s driving privilege, but refused to give
Plaintiff a letter to that effect. When Plaintiff insisted, Plaintiff was given a vaque letter .
Not satisfied with the letter, Plaintiff contacted Defendant predecessor who sent another

letter, carefully avoiding blame, but informing Plaintiff she had directed her office of

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Child Support to release all hold on Plaintiff’s driving privilege. Within weeks Plaintiff
received a printout from the Dept of Safety showing Plaintiff’s license rienstatement.
Plaintiff then sent the printout, with the letter, pleading not guilty to the charge of driving
on suspended license. Plaintiff believed that had resolved the problem. But on February

4th of 2015, Plaintiff was arrested on a warrant over the license suspension. After days,
Plaintiff’s cousin from New York, using his credit card, made bail and the Plaintiff was
released. When the Plaintiff appeared in court again, Plaintiff believing the Court would
Honor a letter from a State Commissioner and Dept of Safety printout, handed the judge
these documents. The judge explained the letter was vague and if he received a clear letter
from the Defendant stating it made a mistake, he Would dismiss the charge. Plaintiff
promised the judge and another day in court was set. Plaintiff then began to plead with
Defendant for a concise letter stating Defendant failed to update information and contact
the Safety Dept to ensure the “all holds on license” had been lifted. Defendant refused such
acknowledgment of fault severally. When Plaintiff appeared in court again without the
Letter from the Defendant, the Rutherford County Public Defendant advised Plaintiff that
without the letter that the judge would not dismiss the charge and told the Plaintiff to plead
guilty and pay a fine of $6. When the Plaintiff pleaded guilty, Plaintiff was slapped with
fines exceeding $500 dollars and probation. Plaintiff felt again deceived and walked out of
the court. Plaintiff indicated to the Court and probation office that he was innocent from
the beginning and to put him through such punishments was unfair. Plaintiff refused to
honor the probation. Subsequently Plaintiff was charged with probation violation, a felony
and arrested After 6 days in jail, again Plaintiff’s cousin from New York posted bail with
his credit card and Plaintiff was released. This felony charge on Plaintiff’s record affected
every aspect of Plaintiff’s life. From automobile insurance to employment Plaintiff was

surprised to find out that when he approached Farm Bureau insurance company to buy

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automobile insurance, Plaintiffwas told of the felony and this on his record “ individual

is likely dangerous and should be handled with care,” among other derogatory phrases.

No companies would offer Plaintiff any kind of employment The one company wanted
employees desperately and offered Plaintiff a low paying wage. Plaintiff had returned from
Africa, where he had spent many months running for election and had planned to return
after a month to help his party campaign after he lost in the primaries. With all these
charges and court appearances, it was impossible for Plaintiff to travel. While in jaii,
Plaintiff was once set aside to be deported but strongly insisted he is a citizen and a
Veteran.

Plaintiff was determined to prove his innocence and made frequent calls to the State Dept
of Safety to clear Plaintiff with a letter, since the Defendant’s office was reluctant to do so
And claimed it was the Safety Dept fault, Both state offices were blaming each other. The
Safety Dept said if the Defendant office sent it a letter admitting fault, it would give
Plaintiff a letter to the Rutherford Court but Defendant office refused.

Fade up with all these distress and possible jail term of one year for probation violation,
Plaintiff went to the State governor’s office and Plaintiff’s congressmen’s. It was then that
the Defendant called Plaintiff to say that his office would accompany the Plaintiff on
Plaintiff’s next court date of February 2016. The State Dept of Safety subtly acknowledged
its long issues with Defendant and demanded that Defendant pay it the sum of $250 dollars
to clear a suspension request made by Defendant on Plaintiff. Defendant paid the amount
to Safety and the Safety Dept completely cleared Plaintiff of any suspensions. In court, on
The 16‘h of Febraury, 2016, Defendant attorney was in court to plead with the judge that
Defendant made the mistake of not properly updating its records and that was why the

Plaintiff was being cited and arrested. The judge took her plea and dismissed all charges.

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CGNCLUSIONS.

1. Plaintiff believes and concludes that Defendant was not truthful and had been negligent,
therefore causing Plaintiff to experience traumatic experiences that have resulted in the
Plaintiff taking depression drugs first time ever in Plaintiff’s life.

2. Plaintiff suffered severe loss of income from employment and from business, humiliation

as a result of derogatory information posted on the internet from arrests.

3.Plaintiff believes Defenandant was only after money and willing to cheat, lie and deceive .

4. That The fact that Defendant quickly reinstated Plaintiff driving privilege or caused it to

be reinstated was proof that Defendant controlled the information but was more concerned

about the liability of acknowledging fault or failure to perform the duties of his or her

office that , the Plaintiff was long denied a letter demanded by the Judge.

5. Plaintiff is still saddled with debts to cousin and other family members who bailed him
out twice and supported Plaintiff as Plaintiff struggled during this ordeal.

6. Plaintiff believes Defendant has violated Plaintiff civil right by causing Plaintiff
to be arrested, imprisoned and traumatized in many ways and by attempt to deport him,
humiliated, in pursuant to US 42 Code 1983.

7. Plaintiff believes Defendant caused his Constitutional right to freedom to be violated
willfully or due to negligence because if Defendant had forwarded information to the
Safety Dept in 2013, after closure of all collections, Plaintiff would not have been cited.:
8. Defendant’s admission before the judge was sufficient admission of guilt.

Now Plaintiff Prays this court to hold Defendant guilty of causing
violation of the Civil right of tlle Plaintiff and render judgment in favor of Plaintiff with
monetary compensation in the amount of $100,000. And to further restrain the Defendant

from engaging directly or indirectly in any actions to harass, intimidate or cause any

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Signature of Mover/ Plaintiff

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Telephone /615 582-1306
Email: Businessguards@yahoo.com.

CERTIFICATE OF SE VICE.

l hereby certify that on the day of 0` , the forgoing S`ummons/

 

Motion was forwarded by certified mail, fax, email, handed to in court to

Danielle W. Barnes

Commissioner of Dept of Human Services

State of Tennessee.

400 Deadrick St,

Nashvine, TN 37243. \-~»~~ -~ /

Paul. E.Amadi

 

 

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Attomey for Defendant

 

Assistant Dism'ct Attorney

 

 

 

Prosecuting WitneSs/Victim Defendant

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